Case 1:20-cv-00170-LMB-JFA Document 164 Filed 10/22/21 Page 1 of 2 PageID# 1208



                            UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division


  MUNA AL-SUYID, et al.,

                     Plaintiffs,
                                                       Civil No. 1:20-cv-00170-LMB-MSN
        v.

  KHALIFA HIFTER,

                     Defendant.




                                              ORDER

        This matter comes before the Court on plaintiffs’ Motion for Protective Order (Dkt. No.

 139), defendant’s Motion to Compel Deposition of Defendant (Dkt. No. 144), and defendant’s

 Motion to Compel and Limitedly Extend Discovery (Dkt. No. 147). Having reviewed the parties’

 motions, oppositions, arguments of counsel, and for the reasons stated in open court, it is hereby

        ORDERED that plaintiffs’ Motion to Compel Deposition of Defendant (Dkt. No. 144)

 is GRANTED. Defendant shall sit for deposition within fourteen (14) days; it is further

        ORDERED that plaintiffs’ Motion for Protective Order (Dkt. No. 139) is GRANTED in

 part and DENIED in part. Defendant is precluded from questioning plaintiffs regarding the subject

 at issue in the instant motion for the reasons stated from the bench. Defendant’s Motion to Compel

 and Limitedly Extend Discovery (Dkt. No. 147) is GRANTED in part and DENIED in part.

 Discovery in this matter is now closed. However, for the reasons stated in open court, defendant

 shall be permitted to re-notice the depositions of the two plaintiffs previously noticed for

 deposition but whose depositions never commenced. Plaintiffs shall sit for those depositions within
Case 1:20-cv-00170-LMB-JFA Document 164 Filed 10/22/21 Page 2 of 2 PageID# 1209



 fourteen (14) days.

        SO ORDERED this 22nd day of October 2021.



                                                                   /s/
                                              Michael S. Nachmanoff
                                              United States Magistrate Judge
 Alexandria, Virginia
